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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

    UNITED STATES OF AMERICA

    v.                                    CASE NO: 2:05-CR-71-FtM-33DNF

    TERRENCE DENMARK
                                      /

                                    ORDER

          This cause comes before the Court pursuant to the Court’s

    December 16, 2011, Order directing the United States Probation

    Office   to   prepare    a   report     regarding   the   Defendant’s

    eligibility for a reduction in sentencing based on the United

    States Sentencing Commission’s retroactive lowering of the

    guideline sentencing range for certain crack cocaine offenses.

    (Doc. # 990). Upon consideration of the report and of the

    United States’ Opposition to Sentence Reduction (Doc. # 997),

    the Court finds that the Defendant is not eligible for a

    sentence reduction.

    I.    Background

          On January 13, 2006, the Defendant pled guilty to Count

    One of the Superseding Indictment for Conspiracy to Distribute

    Five (5) Kilograms or more of Cocaine, in violation of 21

    U.S.C. §§ 841(a)(1), 841(b)(1)(A)(ii)(II), 841(b)(1)(A)(iii),

    and 846. (Doc. # 350). On April 2, 2010, this Court denied the

    Defendant’s request for a sentence reduction pursuant to 18
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    U.S.C.   §   3582(c)(2)       because   the   Defendant     is    a   career

    offender. (Doc. # 952).

    II.    Analysis

           The   United   States    Sentencing     Commission     promulgated

    Amendment 750 lowering the base offense level for cocaine base

    (crack cocaine) offenses, effective November 1, 2011. The

    Commission    decided    that    Amendment    750    should      be   applied

    retroactively. Section 3582(c)(2) provides that the district

    court has the discretion to modify a term of imprisonment

    after it has been imposed as follows:

           in the case of a defendant who has been sentenced
           to a term of imprisonment based on a sentencing
           range that has subsequently been lowered by the
           Sentencing Commission pursuant to 28 U.S.C. 994(o),
           upon motion of the defendant ... the court may
           reduce the term of imprisonment, after considering
           the factors set forth in section 3553(a) to the
           extent that they are applicable, if such a
           reduction is consistent with applicable policy
           statements issued by the Sentencing Commission.

    18 U.S.C. § 3582(c)(2). Section 1B1.10(a) of the Sentencing

    Guidelines provides that a reduction in a defendant’s term of

    imprisonment is authorized under 18 U.S.C. § 3582(c)(2) when

    “the    guideline     range    applicable     to    that   defendant     has

    subsequently been lowered as a result of an amendment to the

    Guidelines    Manual    listed    in    subsection    (c).”      U.S.S.G.   §

    1B1.10(a). However, a reduction in sentence is not authorized


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    under 18 U.S.C. § 3582(c) if the covered amendment “does not

    have   the   effect     of   lowering      the    defendant’s   applicable

    guideline range.”       U.S.S.G. § 1B1.10(a)(2)(B).

           Because the Defendant’s base offense level was determined

    based upon the career offender guidelines and not the drug

    quantity table, Amendment 750 does not have the effect of

    lowering     the      Defendant’s     applicable       guideline    range.

    Accordingly, a reduction of the Defendant’s sentence is not

    authorized under 18 U.S.C. § 3582(c) and is not consistent

    with U.S.S.G. § 1B1.10. See United States v. Moore, 541 F.3d

    1323, 1327-30 (11th Cir. 2008) (finding defendant ineligible

    for    a   sentence    reduction     under       section   3582(c)(2)   and

    Amendment 706 because his guideline range was calculated

    pursuant to the career offender guideline). Defendant also is

    ineligible for a sentence reduction because he was sentenced

    to the statutory minimum of 240 months’ imprisonment. See

    United States v. Mills, 613 F.3d 1070 (11th Cir. 2010)

    (retroactive       amendments   to   crack       cocaine   guidelines   are

    inapplicable to defendants whose sentences were based upon

    statutory mandatory minimum).

           Furthermore, the Defendant is not entitled to relief

    under the Fair Sentencing Act of 2010 (FSA), which amended the

    mandatory minimum sentencing for crack penalties by reducing

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    the crack to powder cocaine ratio from 100:1 to approximately

    18:1. Pub. L. No. 111-220, 124 Stat. 2372 (2010). First, the

    Defendant would remain subject to the same 20-year enhanced

    statutory minimum sentence because his offense involved at

    least five kilograms of cocaine. Second, the FSA does not

    apply to the Defendant because he was sentenced before the

    August 3, 2010, effective date of the FSA, and the FSA is not

    retroactive. United States v. Gomes, 621 F.3d 1343, 1346 (11th

    Cir. 2010), cert. denied, 131 S.Ct. 1833 (2011). Because the

    Sentencing Commission has no authority to alter statutory

    penalties,    the     FSA    did   not    contain    a     provision   making

    statutory    changes        retroactive     but     rather    directed      the

    Commission to promulgate guidelines amendments implementing

    the act.

          Based upon the foregoing analysis, a reduction in the

    Defendant's term of imprisonment is not authorized under 18

    U.S.C. § 3582(c) and is not consistent with U.S.S.G. § 1B1.10.

    Furthermore,    the    Defendant’s       sentence     is    not   subject    to

    reduction pursuant to the application of the FSA.

          Accordingly, it is

          ORDERED, ADJUDGED, and DECREED:

          The Defendant is not eligible for a reduction in sentence

    pursuant to section 3582(c)(2) because he is a career offender

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    and is already serving the shortest term of imprisonment

    permitted by statute.

          DONE and ORDERED in Fort Myers, Florida, this 17th day of

    February, 2012.




    Copies:
    Office of the Federal Public Defender
    United States Attorney's Office
    United States Probation office
    Bureau of Prisons
    U.S. Marshals Office
    Any pro se party




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